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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                            Case Nos.: 3:08cr61/LAC/CJK
                                                         3:11cv254/LAC/CJK
ADRIAN CATHWON
______________________________/

               ORDER, REPORT AND RECOMMENDATION

       This matter is before the court upon Defendant’s amended motion to vacate,
set aside, or correct sentence pursuant to 28 U.S.C. § 2255 and supporting
memorandum of law (doc. 435), the Government’s response (doc. 451) and
Defendant’s reply (doc. 473). The Government also has filed a motion to strike
Defendant’s amended assertion to his § 2255 petition (doc. 474), to which Defendant
responded (doc. 475). This case was referred to the undersigned for the issuance of
all preliminary orders and any recommendations to the district court regarding
dispositive matters. See N.D. Fla. Loc. R. 72.2; see also 28 U.S.C. § 636(b) and Fed.
R. Civ. P. 72(b). After a careful review of the record and the arguments presented,
it is the opinion of the undersigned that Defendant has not raised any issue requiring
an evidentiary hearing and that the § 2255 motion should be denied. See Rules
Governing Section 2255 Cases 8(a) and (b).
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                                  PROCEDURAL BACKGROUND1
         Defendant and nine others were charged in a single count indictment with
conspiracy to distribute and possess with intent to distribute five hundred (500) grams
or more of cocaine and five (5) grams or more of cocaine base in violation of 21
U.S.C. § 841(b)(1)(B)(ii) and (iii) (doc. 101). The Government filed a Notice of
Enhancement Information noting Defendant had three prior controlled substance
convictions (doc. 119). The same convictions were cited in the Government’s “Fed.
R. Evid. 404(B) Notice” as uncharged misconduct that could be introduced at trial to
prove intent (doc. 148). Defendant filed a notice of partial alibi noting that Defendant
had been incarcerated during much of the time frame of the alleged conspiracy (doc.
194). After seven co-defendants entered guilty pleas, the grand jury returned a
superseding indictment against Defendant Cawthon, Roderick Slack and Tremaine
Hamilton. The time frame of the conspiracy remained unchanged, but the quantity
of drugs alleged to have been involved was increased from five hundred (500) grams
to five (5) kilograms of cocaine, and from five (5) grams to fifty (50) grams or more
of cocaine base (doc. 196). There were no weapons charges, although the evidence
at trial reflected that weapons were involved in the conspiracy. Defendant was
convicted as charged in the indictment after a two-day jury trial (doc. 224).
         The Presentence Investigation Report (“PSR”) was disclosed to the defense on
November 10, 2008 (doc. 269). Defendant was held accountable for 775,374




         1
         Details surrounding the offense conduct are set forth in the PSR and the Eleventh Circuit’s opinion on direct
appeal (doc. 390) as well as the trial transcript and other court documents and thus will be set forth herein only as
necessary for resolution of Defendant’s claims.

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kilograms of marijuana,2 for a base offense level of 38 (PSR ¶ 57). He received a
two-level adjustment because a dangerous weapon was used in the offense, and
another two-level adjustment for his leadership role (PSR ¶¶ 58, 60). His total
offense level was 42.3 Defendant had thirty (30) criminal history points and,
therefore, a criminal history category of VI. The applicable guidelines range was 360
months to life (PSR ¶ 128), and 21 U.S.C. § 841(b)(1)(A) provided for a mandatory
term of life imprisonment due to Defendant’s two prior felony drug convictions (PSR
¶ 127).
         Defendant objected generally to the offense conduct as described in the PSR,
denying his involvement in the conspiracy and objecting to the drug weight attributed
to him as well as the role assigned to him by the Government (PSR ¶ 150). He said
he believed that the witnesses were untruthful in their testimony in hopes of receiving
lenient treatment in their own cases, and claimed that he could not have done what
the Government alleged he did and what the jury found because he was incarcerated
during the majority of the conspiracy period (PSR ¶ 150).
         At sentencing, the court overruled Defendant’s objection based on the jury’s
verdict and the evidence it had heard at trial (doc. 335 at 2).                                         Defendant
acknowledged that he had been convicted of the three prior drugs offenses listed in
the PSR (id. at 2–3). The court sentenced Defendant to a term of life imprisonment,
as required by statute (docs. 287, 288, 335 at 4).


         2
          The Drug Equivalency Table located in application note 8 to section § 2D1.1 of the Guidelines provides a
means for combining different controlled substances to obtain a single offense level by using a “marijuana equivalent.”
Thus, this aggregate amount of marijuana reflects Defendant’s accountability for 47.87 kilograms of cocaine and 38.29
kilograms of cocaine base (PSR ¶¶ 49–50).

         3
         Defendant was a career offender, but he scored out higher using the calculations under Chapters Two and
Three, and hence those calculations controlled (PSR ¶ 65).

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         On appeal, Defendant challenged the sufficiency of the evidence supporting his
conviction (doc. 390). Specifically, he contended that there was no direct evidence
linking him to the conspiracy because the Government never made a controlled buy
directly from him and never found any drugs in his possession (id. at 17). He also
noted that he had been in custody during approximately two-thirds of the time frame
specified in the indictment, and that nearly all of the evidence against him came from
convicted felons testifying in hopes of reducing their sentencing exposure, none of
whom offered exact dates about his involvement (id.). The Eleventh Circuit affirmed,
noting that the “uncorroborated testimony of a co-conspirator or accomplice is
sufficient to prove guilt beyond a reasonable doubt” (id. at 17–20). The Supreme
Court denied certiorari on June 14, 2010 (doc. 399). Defendant’s initial motion
pursuant to § 2255 was timely filed on May 19, 2011 (doc. 430 at 9). His amended
motion, in which he raised eleven grounds for relief, is currently pending before the
court. The Government opposes the motion in its entirety.
                                             LEGAL ANALYSIS
         General Standard of Review
         Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A
prisoner is entitled to relief under section 2255 if the court imposed a sentence that
(1) violated the Constitution or laws of the United States, (2) exceeded its
jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise subject
to collateral attack. See 28 U.S.C. § 2255(a); McKay v. United States, 657 F.3d 1190,
1194 n. 8 (11th Cir. 2011). “Relief under 28 U.S.C. § 2255 ‘is reserved for
transgressions of constitutional rights and for that narrow compass of other injury that


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could not have been raised in direct appeal and would, if condoned, result in a
complete miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th
Cir. 2004) (citations omitted). The “fundamental miscarriage of justice” exception
recognized in Murray v. Carrier, 477 U.S. 478, 496 (1986), provides that it must be
shown that the alleged constitutional violation “has probably resulted in the
conviction of one who is actually innocent . . . .”
         The law is well established that a district court need not reconsider those issues
raised in a section 2255 motion which have been resolved on direct appeal. Rozier
v. United States, 701 F.3d 681, 684 (11th Cir. 2012); United States v. Nyhuis, 211
F.3d 1340, 1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th
Cir. 1994); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981). Once a
matter has been decided adversely to a defendant on direct appeal, it cannot be re-
litigated in a collateral attack under section 2255. Nyhuis, 211 F.3d at 1343
(quotation omitted). Broad discretion is afforded to a court’s determination of
whether a particular claim has been previously raised. Sanders v. United States, 373
U.S. 1, 16 (1963) (“identical grounds may often be proved by different factual
allegations . . . or supported by different legal arguments . . . or couched in different
language . . . or vary in immaterial respects”).
         Furthermore, a motion to vacate under section 2255 is not a substitute for direct
appeal, and issues which could have been raised on direct appeal, such as many of
those raised by Defendant in this case, are generally not actionable in a section 2255
motion and will be considered procedurally barred. Lynn, 365 F.3d at 1234–35;
Bousley v. United States, 523 U.S. 614, 621 (1998); McKay v. United States, 657
F.3d 1190, 1195 (11th Cir. 2011). An issue is “‘available’ on direct appeal when its


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merits can be reviewed without further factual development.” Lynn, 365 F.3d at 1232
n. 14 (quoting Mills, 36 F.3d at 1055). Absent a showing that the ground of error
was unavailable on direct appeal, a court may not consider the ground in a section
2255 motion unless the defendant establishes (1) cause for not raising the ground on
direct appeal, and (2) actual prejudice resulting from the alleged error, that is,
alternatively, that he is “actually innocent.” Lynn, 365 F.3d at 1234; Bousley, 523
U.S. at 622 (citations omitted). To show cause for procedural default, a defendant
must show that “some objective factor external to the defense prevented [him] or his
counsel from raising his claims on direct appeal and that this factor cannot be fairly
attributable to [defendant’s] own conduct.” Lynn, 365 F.3d at 1235. A meritorious
claim of ineffective assistance of counsel can constitute cause. See Nyhuis, 211 F.3d
at 1344.
         Ineffective assistance of counsel claims generally are not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could
have been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503
(2003); see also United States v. Patterson, 595 F.3d, 1324, 1328 (11th Cir. 2010).
The benchmark for judging a claim of ineffective assistance of counsel is “whether
counsel’s conduct so undermined the proper functioning of the adversarial process
that the trial cannot be relied on as having produced a just result.” Strickland v.
Washington, 466 U.S. 668, 686 (1984). To show a violation of his constitutional
right to counsel, a defendant must demonstrate both that counsel’s performance was
below an objective and reasonable professional norm and that he was prejudiced by
this inadequacy. Strickland, 466 U.S. at 686; Williams v. Taylor, 529 U.S. 362, 390
(2000); Darden v. United States, 708 F.3d 1225, 1228 (11th Cir. 2013). In applying


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Strickland, the court may dispose of an ineffective assistance claim if a defendant
fails to carry his burden on either of the two prongs. Strickland, 466 U.S. at 697;
Brown v. United States, 720 F.3d 1316, 1326 (11th Cir. 2013) (citations omitted).
         In determining whether counsel’s conduct was deficient, this court must, with
much deference, consider “whether counsel’s assistance was reasonable considering
all the circumstances.” Strickland, 466 U.S. at 688; see also Dingle v. Secretary for
Dept. of Corrections, 480 F.3d 1092, 1099 (11th Cir. 2007). Reviewing courts are
to review counsel’s performance in a highly deferential manner and “must indulge a
strong presumption that counsel’s conduct fell within the wide range of reasonable
professional assistance.” Hammond v. Hall, 585 F.3d 1289, 1324 (11th Cir. 2009)
(quoting Strickland, 466 U.S. at 689); Chandler v. United States, 218 F.3d 1305, 1314
(11th Cir. 2000); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989)
(emphasizing that petitioner was “not entitled to error-free representation”)).
Counsel’s performance must be evaluated with a high degree of deference and
without the distorting effects of hindsight. Strickland, 466 U.S. at 689. To show
counsel’s performance was unreasonable, a defendant must establish that “no
competent counsel would have taken the action that his counsel did take.” Gordon
v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (citations omitted); Chandler,
218 F.3d at 1315. When examining the performance of an experienced trial counsel,
the presumption that counsel’s conduct was reasonable is even stronger, because
“[e]xperience is due some respect.” Chandler, 218 F.3d at 1316 n.18.
         With regard to the prejudice requirement, defendant must establish that, but for
counsel’s deficient performance, the outcome of the proceeding would have been
different. Strickland, 466 U.S. at 694. For the court to focus merely on “outcome


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determination,” however, is insufficient; “[t]o set aside a conviction or sentence
solely because the outcome would have been different but for counsel’s error may
grant the defendant a windfall to which the law does not entitle him.” Lockhart v.
Fretwell, 506 U.S. 364, 369–70 (1993); Allen v. Secretary, Florida Dep’t of
Corrections, 611 F.3d 740, 754 (11th Cir. 2010). A defendant therefore must
establish “that counsel’s errors were so serious as to deprive the defendant of a fair
trial, a trial whose result is reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland,
466 U.S. at 687). Or in the case of alleged sentencing errors, a defendant must
demonstrate that there is a reasonable probability that, but for counsel’s errors, the
result of the proceeding would have been less harsh due to a reduction in the
defendant’s offense level. Glover v. United States, 531 U.S. 198, 203–04 (2001). A
significant increase in sentence is not required to establish prejudice, as “any amount
of actual jail time has Sixth Amendment significance.” Id. at 203.
         To establish ineffective assistance, Defendant must provide factual support for
his contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401,
1406–07 (11th Cir. 1987). Bare, conclusory allegations of ineffective assistance are
insufficient to satisfy the Strickland test. See Boyd v. Comm’r, Ala. Dep’t of
Corrections, 697 F.3d 1320, 1333–34 (11th Cir. 2012); Garcia v. United States, 456
F. App’x 804, 807 (11th Cir. 2012) (citing Yeck v. Goodwin, 985 F.2d 538, 542 (11th
Cir. 1993)); Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992); Stano v.
Dugger, 901 F.2d 898, 899 (11th Cir. 1990) (citing Blackledge v. Allison, 431 U.S.
63, 74 (1977)).
         Finally, the Eleventh Circuit has recognized that given the principles and
presumptions set forth above, “the cases in which habeas petitioners can properly


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prevail . . . are few and far between.” Chandler, 218 F.3d at 1313. This is because
the test is not what the best lawyers would have done or even what most good lawyers
would have done, but rather whether some reasonable lawyer could have acted in the
circumstances as defense counsel acted. Dingle, 480 F.3d at 1099; Williamson v.
Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). “Even if counsel’s decision appears
to have been unwise in retrospect, the decision will be held to have been ineffective
assistance only if it was ‘so patently unreasonable that no competent attorney would
have chosen it.’” Dingle, 480 F.3d at 1099 (quoting Adams v. Wainwright, 709 F.2d
1443, 1445 (11th Cir. 1983)). The Sixth Circuit has framed the question as not
whether counsel was inadequate, but rather whether counsel’s performance was so
manifestly ineffective that “defeat was snatched from the hands of probable victory.”
United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).
         Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is
entitled to no relief,” a defendant must support his allegations with at least a proffer
of some credible supporting evidence. See Chandler v. McDonough, 471 F.3d 1360,
1363 (11th Cir. 2006) (citing Drew v. Dept. of Corrections, 297 F.3d 1278, 1293
(11th Cir. 2002) (referring to “our clear precedent establishing that such allegations
are not enough to warrant an evidentiary hearing in the absence of any specific factual
proffer or evidentiary support”); Hill v. Moore, 175 F.3d 915, 922 (11th Cir. 1999)
(“To be entitled to an evidentiary hearing on this matter [an ineffective assistance of
counsel claim], petitioner must proffer evidence that, if true, would entitle him to
relief.”)); Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983). A
hearing is not required on frivolous claims, conclusory allegations unsupported by


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specifics, or contentions that are wholly unsupported by the record. Peoples v.
Campbell, 377 F.3d 1208, 1237 (11th Cir. 2004); Tejada, 941 F.2d at 1559; Holmes
v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted). Likewise,
affidavits that amount to nothing more than conclusory allegations do not warrant a
hearing. Lynn, 365 F.3d at 1239.
Grounds One through Three: Variance/Multiple Conspiracies and Ineffective
Assistance of Counsel
         Defendant’s first contention is that the evidence presented at trial exceeded the
scope of the indictment. He maintains that there was a variance in the indictment
because the Government introduced evidence of multiple conspiracies in order to
prove the single conspiracy with which he was charged. Defendant also asserts that
he was prejudiced by the spillover effect of the evidence of what he characterizes as
separate conspiracies carried on by his co-defendants during his incarceration.
Finally, he maintains that the Government failed to prove that any of the cooperating
witnesses were acting under his direction, in furtherance of a common goal, or that
there was any interdependence among them. Citing United States v. Chandler, 388
F.3d 796, 811 (11th Cir. 2004). The last portion of Defendant’s argument is arguably
encompassed in the sufficiency of the evidence claim he raised on appeal. In any
event, the entirety of this claim could have been raised on appeal, and Defendant’s
failure to have done so results in a procedural bar. Lynn; McKay; Bousley; supra.
Defendant has not shown cause or prejudice from his failure to raise these arguments
previously because, as will be discussed below, they are substantively without merit.
         The law in this circuit establishes that reversible error does not occur where a
single conspiracy is charged in the indictment, although multiple conspiracies are


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revealed at trial, “unless the variance is (1) material and (2) substantially prejudiced
the defendant.” United States v. Coachman, Case No.: 12-14751, 2013 WL 2450743,
at *4 (11th Cir. Jun. 4, 2013) (quoting United States v. Edouard, 485 F.3d 1324, 1347
(11th Cir. 2007); see also United States v. Alred, 144 F.3d 1405, 1414 (11th Cir
1998). “The arguable existence of multiple conspiracies does not constitute a
material variance from the indictment if, viewing the evidence in the light most
favorable to the government, a rational trier of fact could have found that a single
conspiracy existed beyond a reasonable doubt.” Coachman, 2013 WL 2450743 at *4
(quoting Edouard, 485 F. 3d at 1347) (emphasis in original quotation). The question
of whether the evidence establishes a single conspiracy or multiple conspiracies is the
province of the jury. United States v. Lopez, 403 F. App’x 362, 371 (11th Cir. 2010)
(citing United States v. Adams, 1 F.3d 1566, 1584 (11th Cir. 1993)); Alred, 144 F.3d
at 1414. To determine whether the jury could have found a single conspiracy, the
court considers: “(1) whether a common goal existed; (2) the nature of the underlying
scheme; and (3) the overlap of participants.” Coachman, 2013 WL 2450743 at *4
(quoting Edouard, 485 F.3d at 1347). The fact that separate transactions occurred
does not necessarily prove the existence of separate conspiracies “so long as the
conspirators act in concert to further a common goal.” Id. (emphasis in original
quotation). The courts interpret the common goal element “as broadly as possible”
to mean “similar” or “substantially the same” rather than identical or “shared.” Id.
(citing United States v. Richardson, 532 F.3d 1279, 1285 (11th Cir. 2008)).
Furthermore, the mere fact that a single conspiracy may be divisible into separate
agreements does not direct a finding that more than one conspiracy exists if the
different subgroups are acting in furtherance of a single plan. See United States v.


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Baker, 432 F.3d 1189, 1233 (11th Cir. 2005) (quoting United States v. Calderon, 127
F.3d 1314, 1329 (11th Cir. 1997)). A given defendant need not participate in, or even
be aware of, all of the activities or participants forming the larger conspiracy, so long
as he is aware of the general scope and purpose of the conspiratorial agreement.
United States v. Garcia, 405 F.3d 1260, 1269 (11th Cir. 2005); see also United States
v. Decubas, 506 F. App’s 986, 989–990 (11th Cir. 2013); Baker, 432 F.3d at 1232
(citing United States v. Toler, 144 F.3d 1423, 1427–28 (11th Cir. 1998)); Alred, 144
F.3d at 1415. Finally, the court need not consider the question of prejudice with
respect to the alleged variance unless there was no evidentiary foundation for the
jury’s finding of a single conspiracy. Richardson, 532 F.3d at 1284.
         The evidence at trial established that the various co-conspirators purchased
drugs from sources of supply in and out of state and brought them back to Santa Rosa
County for local distribution. Some of the purchases were made jointly. Evidence
of drug dealing activities during Defendant’s incarceration was not overwhelming,
and was arguably used merely to show the continuity of the enterprise. For example,
Christopher Watson testified that the conspiracy would continue while Defendant was
in prison and when Defendant was released he would “get back in the game” (doc.
342 at 19). Deshric Slack gave similar testimony (doc. 342 at 151). The evidence at
trial clearly showed that defendants Cawthon, Hamilton and Roderick Slack were
acting in furtherance of a single, overarching plan, and Defendant’s argument that he
could not have been convicted of having participated in a single conspiracy based on
the evidence at trial is unpersuasive. Baker, 432 F.3d at 1233 (quoting Calderon, 127
F.3d at 1329).



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         Defendant is correct that the jury heard testimony about transactions and
activities that occurred beyond the scope of the charged conspiracy. However,
testimony about illegal activities outside the time frame of the conspiracy is
permissible under Eleventh Circuit precedent and Federal Rule of Evidence 403. See
United States v. Lopez, 649 F.3d 1222, 1248 (11th Cir. 2011) (allowing testimony
outside the time frame of the conspiracy to show context for co-conspirators’
relationship); United States v. Miller, 431 F. App’x 847 (11th Cir. 2011) (allowing
evidence to “complete the story of the crime”); United States v. Nelson, 321 F. App’x
904, 906 (11th Cir. 2009) (allowing evidence to prove beginning and continuing
stages of conspiracy). Additionally, Defendant’s assertion that the testimony was
“unexpected” and he was unprepared to defend himself is disingenuous; he was
placed on notice before trial that this evidence would be presented (see doc. 214).
Based on a review of the entire record, the court finds that there was no improper
variance, and the evidence supported the jury’s finding.
         Because Defendant’s claim is substantively without merit, his claim that both
trial and appellate counsel were constitutionally ineffective for their failure to raise
or preserve them must also fail. Counsel will not be found to be constitutionally
ineffective for failing to preserve or argue a meritless claim. Freeman v. Attorney
General, Florida, 536 F.3d 1225, 1233 (11th Cir. 2008); see also Sneed v. Florida
Dep’t of Corrections, 496 F. App’x 20 (11th Cir. 2012) (failure to preserve meritless
Batson claim not ineffective assistance of counsel); Lattimore v. United States, 345
F. App’x 506, 508 (11th Cir. 2009) (counsel not ineffective for failing to make a
meritless objection to an obstruction enhancement); Brownlee v. Haley, 306 F.3d
1043, 1066 (11th Cir. 2002) (counsel was not ineffective for failing to raise issues


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clearly lacking in merit); Chandler v. Moore, 240 F.3d 907 (11th Cir. 2001) (counsel
not ineffective for failing to object to “innocuous” statements by prosecutor, or
accurate statements by prosecutor about effect of potential sentence). The same is
true of appellate counsel. See Alvord v. Wainwright, 725 F.2d 1282, 1291 (11th Cir.
1984) (citations omitted); see also Lambrix v. Singletary, 72 F.3d 1500, 1507 (11th
Cir. 1996); United States v. Phillips, 210 F.3d 345, 348 (5th Cir. 2000). There was
no “variance,” and as such trial counsel was not constitutionally ineffective for his
failure to challenge same. Similarly, he was not constitutionally ineffective for his
failure to request a “multiple conspiracy” instruction, as such an instruction was not
supported by the facts of this case. See Brown v. United States, No.: 4:09cr63, 2013
WL 1868363, at *5–6 (E.D. Va. May 2, 2013). And, appellate counsel’s performance
was not deficient due to his failure to argue these issues on appeal.
Ground Four: Prosecutorial Misconduct–Improper Use of Leading Questions
         In Defendant’s fourth ground for relief, he contends that the Government used
leading questions during direct examination of cooperating witnesses, and that
counsel was ineffective for his failure to object. The court has reviewed the
testimony of which Defendant complains.4 Not all of the pages referenced by
Defendant contain leading questions. There are, however, many questions that could
be described as such and which could have been phrased slightly differently to avoid

         4
           Testimony of: Chris W atson (doc. 342 at 13–19; 40–41); Tracy Freeman (doc. 342 at 45–48, 50–51); Antonio
Henry (doc. 343 at 70, 74–75, 86–87); Shannon Roulhac (doc. 343 at 88–89, 91, 93); Byron W ashington (doc. 343 at
105–106, 108, 109); Valentine Vasser (doc. 343 at 122–123, 125, 145); Deshric Slack (doc. 343 at 147–149, 151–153);
Claude Cosey (doc. 343 at 167–168, 214–215, 217, 220, 260–261); Steven Pinkney (doc. 343 at 182, 184–185,
196–197); Blake W eekly (doc. 343 at 213–214); Katrisa Thomas (doc. 343 at 224–228; 239–240); Avaram W illiams
(doc. 343 at 241–242, 252–253). Defendant also referenced the testimony of Herman Fails, although the page citations
listed were actually for the testimony of Mr. Pinkney. Therefore, the court has reviewed Mr. Fails’ testimony in its
entirety as it relates to this matter. Although the trial transcript for the second day of trial is identified throughout this
recommendation by document number (doc. 343), the page number references associated therewith refer to the actual
page numbers of this trial transcript, rather than those assigned by the electronic docketing system.

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being so labeled. Nonetheless, after reviewing the referenced pages in the context of
the record as a whole, the court finds that there was no impropriety in the
Government’s questioning. In accordance with the Rules of Evidence, leading
questions may be used to “develop the witness’s testimony.” Fed. R. Evid. 611(c);
accord United States v. Rolle, 432 F. App’x 853, 856 (11th Cir. 2011); United States
v. Diaz, 377 F.App’x 883, 890 (11th Cir. 2010); United States v. Hewes, 729 F.2d
1302, 1325 (11th Cir. 1984); Morgan v. Bill Van Co., Inc., Case No. 11-0535-WS-B,
2013 WL 4657554, at *1 (S.D. Ala. Aug. 30, 2013) (“Authority is legion for the
proposition that use of leading questions on direct examination may be permitted in
the trial court’s discretion”). The Government’s use of leading questions in this case
was primarily aimed at eliciting testimony about the various witnesses’ plea and
cooperation agreements and their criminal histories--to wit, non-substantive matters
unrelated to the alleged offense conduct.5 Because there was no impropriety in the
Government’s questioning, counsel was not ineffective for his failure to object, and
Defendant is not entitled to relief. See Freeman; Brownlee; Sneed; supra.
Ground Five: Prosecutorial Misconduct--Government Encouraged Untruthful
Testimony
         Defendant claims that the Government encouraged the cooperating witnesses
to lie to inflate the drug amounts and types of controlled substances attributable to the
defendants in this case in order to secure longer sentences. Defendant’s claim of
prosecutorial misconduct without an incorporated ineffective assistance of counsel
claim could have been raised on direct appeal, and as such is procedurally barred.


         5
          The situation presented in this case is clearly distinguishable from W alker v. Davis, 840 F.2d 834 (11th Cir.
1988), cited by Defendant, as in W alker, the prosecuting attorney actually took the stand and testified as a witness.

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Lynn; McKay; supra. Even if this claim is not procedurally barred, Defendant has
failed to show his entitlement to relief.
         Defendant primarily assails the testimony of Byron Washington (doc. 343 at
104–122). Defendant’s assertion that Washington lied is based on an unsigned,
undated portion of a letter bearing neither a signature nor a salutation which was
purportedly written by Washington and sent to Antonio Henry, another cooperating
witness (doc. 435 at 31). Even if the court accepts Defendant’s representation about
the origin of the letter, after reviewing its contents, the court finds that it does not rise
to the level of either “recanted” testimony or a suggestion that the Government
suborned perjury as portrayed by Defendant. Furthermore, the contents of the letter
are consistent with the information Washington provided in a December 2006
debriefing with law enforcement, as well as his testimony at trial (see doc. 451-2 at
2–6; doc. 343 at 106–111). Defendant has not shown a factual basis for his assertion
of governmental misconduct and thus no entitlement to relief.
Ground Six: Due Process Violation--DEA Agent’s Contact with Juror During
Trial
         Defendant contends that his due process rights were violated by DEA Agent
Claude Cosey’s contact with the lone female African-American juror during a court
recess during which they discussed Defendant’s guilt. The Government argues that
the issue is both procedurally barred and without the evidentiary support necessary
to establish that such extrinsic contact occurred. See United States v. Khanani, 502
F.3d 1281, 1291 (11th Cir. 2007) (initial burden is on the defendant to show that
extrinsic contact occurred).



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          Along with his reply, Defendant submits what purport to be sworn, unnotarized
statements from Dominique Edwards and Chalondra Cawthon, who attended his trial
(doc. 473 at 29–30). Ms. Edwards states that during Defendant’s trial, as she was
approaching the sidewalk from the parking area for the courthouse, she overheard
Agent Cosey make a comment to the only African-American juror involved in the
trial. Cosey allegedly stated: “Cawthon is guilty.” The juror responded to Cosey “I
believe he’s guilty and I don’t like his demeanor in the courtroom” (id. at 29). Ms.
Edwards avers that she insisted that Ms. Cawthon inform Cawthon’s brother (the
Defendant) what Edwards heard so he could tell his attorney (id.). The affidavit of
Ms. Cawthon, while varying in minor details about when the incident transpired,6 also
reflects that she heard Agent Cosey tell the only African-American juror that
Cawthon was “guilty beyond a doubt” and that the juror responded as reported by Ms.
Edwards (id. at 30). Ms. Cawthon avers that she reported this conversation promptly
to her brother (id.). Accepting as true Ms. Cawthon’s assertion that she advised her
brother about what she and Ms. Edwards overheard, this issue could and should have
been brought to the attention of the district court at the time. Defendant does not
claim that he told counsel about what Ms. Edwards and Ms. Cawthon had allegedly
witnessed, and as such counsel cannot be constitutionally ineffective for his failure
to pursue an issue that he knew nothing about. Defendant neither explains why he
raised the issue for the first time in his § 2255 motion nor attempts to excuse his
failure to bring it to the attention of the trial court. As such, he is not entitled to
relief.


          6
           M s. Cawthon says both that the incident occurred on the first day of trial “after court was in recess” and also
that it was “early in the morning, walking from the parking lot” (doc. 473 at 30).

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Ground Seven: Failure to Request Alibi Instruction
         Defendant asserts that counsel was constitutionally ineffective because he
failed to request an alibi instruction due to Defendant’s incarceration during much of
the charged conspiracy. In a statement that seems to admit his involvement in the
conspiracy, Defendant states that he “was involuntarily withdrawn from the
conspiracy because of his incarceration” (doc. 435 at 21) and maintains that counsel
should have requested that the jury be instructed that he could not be held responsible
for controlled substances that were possessed during his various periods of
incarceration.
         The parties stipulated to the introduction of an exhibit that showed the time
periods in the conspiracy during which Defendant was incarcerated (doc. 343 at 263).
Thus, the jurors were undoubtedly aware of the precise periods during which
Defendant was incarcerated. Furthermore, even if the alibi instruction had been
given, the outcome of the proceeding would not have changed. There was sufficient
evidence to support the jury’s finding that Defendant had participated in the
conspiracy, and sufficient co-conspirator testimony regarding the time that he was not
incarcerated for it to find that he was accountable for more than five kilograms of
cocaine. See Testimony of Christopher Demay Watson (doc. 342 at 16–21), Antonio
Henry (doc. 343 at 72–74), Shannon Roulhac (doc. 343 at 91–92), Byron Washington
(doc. 343 at 106–110), Valentine Vasser (doc. 343 at 124–126), Deshric Slack (doc.
343 at 150–152); Steven Pinkney (doc. 343 at 183–185); and Katrisa Thomas (doc.
343 at 226–228). Furthermore, two witnesses testified that upon release Defendant
would simply “hop back in the game” (doc. 343 at 151, 228). Defendant has not



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established either deficient performance or prejudice due to counsel’s failure to
request the alibi instruction.
Ground Eight: Failure to Object to Lack of Proof regarding Identity of Drug
         Ground eight contains two parts. Defendant’s assertion that counsel was
remiss in not objecting to the Government’s failure to prove at trial that the
conspiracy involved actual cocaine base fails because he cannot show prejudice. The
verdict form reflects that the jury found beyond a reasonable doubt that the
conspiracy involved both five (5) kilograms or more of cocaine as well as fifty (50)
grams or more of cocaine base (doc. 224).7 Because an offense involving five (5)
kilograms or more of cocaine falls under the highest threshold level of penalties in
§ 841(b), even if the court had disregarded the jury’s finding that the conspiracy also
involved fifty (50) grams of cocaine base, Defendant would have been subject to the
same sentencing parameters. See § 21 U.S.C. § 841(b)(1)(A)(ii).
         Defendant also claims that trial counsel was constitutionally ineffective
because he failed to object to the testimony of DEA Special Agent Claude Cosey
concerning the potency of “drop” versus “crack” cocaine. Defendant maintains that
counsel should have objected to this testimony because it was expert testimony
presented by a layperson in contravention to Rule 701 of the Federal Rules of
Evidence. Cosey testified that he had approximately twenty years of experience as
a narcotics officer and that he had been involved in several hundred narcotics


         7
           Defendant’s assertion that the jury should have been required to find the precise amount of cocaine and cocaine
base attributable to him under Alleyne v. United States, 133 S.Ct. 2151 (2013) (see doc. 495) is misguided. The verdict
form tracked the quantity ranges of controlled substances to which different statutory penalties apply. A finding that
the conspiracy involved either five (5) kilograms of cocaine or fifty (50) or more grams of cocaine base was sufficient
at the time of Defendant’s trial to support the imposition of penalties in accordance with 21 U.S.C. § 841(b)(1)(A), rather
than § 841(b)(1)(B) or (C). No greater specificity was required with respect to the jury’s verdict on drug quantity either
before or after Alleyne.

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investigations during that time (doc. 342 at 4–5). As conceded by Defendant, law
enforcement officers “can testify as lay witnesses based upon their particularized
knowledge gained from years of experience within the field.” United States v.
Cannon, 149 F. App’x 937, 941 (11th Cir. 2005) (quoting Tampa Bay Shipbuilding
& Repair Co. v. Cedar Shipping Co., 320 F.3d 1213, 1223 (11th Cir. 2003)).
Although there is contrary authority suggesting such testimony may be presented as
expert testimony, see United States v. Garcia, 447 F.3d. 1327, 1334–35 (11th Cir.
2006) (citing Fed. R. Evid. 702), that is not the issue presented here. Defendant
argues that Cosey was not trained in the chemical or molecular makeup of cocaine
hydrochloride and its salts, isomers, bases or other forms, and that some of Cosey’s
conclusions were simply wrong (doc. 435 at 25). Specifically, he states that Cosey’s
statement that “drop” was a more potent form of cocaine base than was “crack” was
incorrect because there is no difference in the two substances (id. at 25–26). Even if
counsel had objected to this testimony as an improper “expert” opinion, the same
information was placed before the jury by the lay opinion testimony given by Deshric
Slack and Katrisa Thomas (doc. 343 at 151–152; 227–228). Furthermore because,
as noted above, the jury’s finding based on powder cocaine alone was sufficient to
support the sentence imposed, he cannot show prejudice.8 He is not entitled to relief
on this ground.




         8
           Defendant’s supplemental argument with respect to this claim, that DePierre v. United States, 131 S.Ct. 2225
(2011) affords him relief (doc. 479), also is mistaken. In DePierre, the Supreme Court held that “cocaine base,” as the
term is used in 21 U.S.C. § 841(b)(1), encompasses not just crack cocaine, but cocaine in its chemically basic form. 131
S.Ct. at 2230–2237. This holding has no impact on the facts of Defendant’s case. The jury’s verdict did not specify the
form of “cocaine base” involved in the conspiracy.

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Ground Nine: Failure to Object to Introduction of Hearsay
         At trial, the Government introduced into evidence business records from the
Florida Department of Revenue which purported to show that during the time frame
of the conspiracy none of the three defendants had earned any legitimate income in
the State of Florida. The suggested inference was that the large quantity of cash they
had in their possession upon arrest was the proceeds of unlawful activity (doc. 343
at 215–221). At a bench conference before the evidence was presented, Mr.
Greenberg, counsel for co-defendant Hamilton, argued that the documents were not
relevant. When the court asked “[w]hat’s the objection, to the authenticity of...,” Mr.
Greenberg broke in and again indicated that the documents were not relevant and that
there was no foundation in this case. The court asked “Your objection is not to the
authenticity of the piece of paper then?” to which Greenberg responded “No, your
Honor.”         The court overruled the objection (doc. 343 at 216). Defendant now
contends that counsel failed to take the court’s “hint” that an authenticity objection
would have been sustained, and that counsel was constitutionally ineffective for his
failure to object to the introduction of this hearsay evidence which, according to
Defendant, was both unreliable and irrelevant.
         The exhibits in question were introduced into evidence accompanied by a
“Certificate of Authenticity of Domestic Business Records Pursuant to Federal Rule
of Evidence 902(11)” (see doc. 451, exh. E). They thus were admissible. See, e.g.,
United States v. Yeley-Davis, 632 F.3d 673 at 677–681 (10th Cir. 2011); United
States v. Adefehinti, 510 F.3d 319, 324–328 (D.C. Cir. 2008). To the extent
Defendant seeks to challenge their relevance, the district court already overruled this
objection (doc. 343 at 216). Furthermore, both Defendant’s attorney, Mr. Sutherland,


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and Mr. Greenberg thoroughly explored the relevance and limitation of the probative
value of the records in questioning on cross examination (id. at 218–220). Counsel
was not constitutionally ineffective for failing to make a meritless objection,
Freeman; Sneed; supra., and Defendant is not entitled to relief.
Ground Ten: Appellate Counsel’s Failure to Request Certain Transcripts
         Defendant contends that appellate counsel was constitutionally ineffective
because he failed to order transcripts of voir dire, opening statements or closing
arguments, and as such did not have a complete transcript to review in search of
errors at the trial court level. Defendant now seeks the opportunity to review these
portions of the trial record in order to demonstrate the prejudice he suffered as a result
of counsel’s failure to order same. Thus, this is not a request for relief, but rather a
request to be able to search for possible grounds for relief not cognizable as part of
a § 2255 motion. Furthermore, a prisoner is not entitled to search the trial transcript
or other records for possible error at the government’s expense. See United States v.
Warmus, 151 Fed.Appx. 783, 787 (11th Cir. 2005) (citing Skinner v. United States,
434 F.2d 1036 (5th Cir. 1970); United States v. Herrera, 474 F2d 1049 (5th Cir.
1973)).
Ground Eleven: Cumulative Error
         Defendant asserts that all of the alleged errors set forth herein, even if harmless
by themselves, resulted in cumulative error which violated his due process rights. It
is true that the cumulative effect of several errors can so prejudice a defendant's right
to a fair trial that a new trial might be necessary even if the errors considered
individually are non-reversible. See, e.g., U.S. v. Ramirez, 426 F.3d 1344, 1353
(11th Cir. 2005); United State v. Preciado-Cordobas, 981 F.2d 1206, 1215 n.8 (11th


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Cir. 1993)(citing United States v. Pearson, 746 F.2d 787, 796 (11th Cir. 1984));
United States v. Adams, 74 F.3d 1093,1099 (11th Cir. 1996); United States v.
Thomas, 62 F.3d 1332, 1343 (11th Cir. 1995). However, “[a] defendant is entitled
to a fair trial not a perfect one.” Ramirez, 426 F.3d at 1353 (quoting United States
v. Adams, 74 F.3d 1093, 1099– 1100 (11th Cir. 1996) (citing Lutwak v. United
States, 344 U.S. 604, 619, 73 S. Ct. 481, 490, 97 L. Ed. 593 (1953))). The cumulative
error doctrine is inapplicable where the district court commits no individual errors.
United States v. Waldon, 363 F.3d 1103, 1110 (11th Cir. 2004); United States v.
Barshov, 733 F.2d 842, 852 (11th Cir. 1984) (“Without harmful errors, there can be
no cumulative effect compelling reversal.”); Mullen v. Blackburn, 808 F.2d 1143,
1147 (5th Cir. 1987) (noting that increasing the number of non-meritorious claims
raised will not support a finding of cumulative error because “Twenty times zero
equals zero.”). The Supreme Court has not recognized the cumulative error doctrine
in the context of ineffective assistance of counsel claims.9 Thus, having found no
error, there can be no cumulative error, and Defendant is not entitled to relief.
Supplemental Ground: Failure to Disclose Exculpatory Evidence to Grand Jury
         In his reply memorandum, Defendant alleges for the first time that the
Government failed to disclose exculpatory evidence that would have negated his role
in the commencement of a conspiracy that began in January of 2004. Specifically,
he claims that the Government mislead the grand jury into believing that he was a
leader in the commencement of the conspiracy from its inception although in reality


         9
          The Eleventh Circuit has noted “the absence of Supreme Court precedent applying cumulative error doctrine
to claims of ineffective assistance of counsel.” Forrest v. Fla. Dep’t of Corr., 342 F. App’x 560, 565 (11th Cir. 2009).
The court cautioned that the Supreme Court has held that “there is generally no basis for finding a Sixth Amendment
violation unless the accused can show how specific errors of counsel undermined the reliability of the finding of guilt.”
Id. (quoting United States v. Cronic, 466 U.S. 648, 659 n.26, 104 S. Ct. 2039, 80 L. Ed. 2d 657 (1984)).

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he was incarcerated from August of 2003 through January of 2005 (doc. 473 at
17–22). The Government has moved to strike this assertion, contending that it is both
untimely as well as factually and legally without merit (doc. 474). In response,
Defendant concedes that the claim is procedurally defaulted, but takes the position
that it would be a miscarriage of justice not to review the claim on its merits (doc. 475
at 2).
         The basis for Defendant’s assertions about what transpired before the grand
jury is unclear. It also appears that he misapprehends what the Government has to
prove in order to secure an indictment. The Government was not required to prove
Defendant’s guilt beyond a reasonable doubt, nor was it required to prove his role in
the offense, nor was it required to prove the exact dates of his participation.10 Most
significantly, the Government is not even required to present exculpatory evidence
to the grand jury, as Defendant now claims. See United States v. Williams, 504 U.S.
36, 52–54 (1992). His supplemental claim is both time-barred and without merit, and
in light of this finding, the Government’s motion to strike this claim will be denied
as moot.
Conclusion
         In sum, none of the claims Defendant raises in either his amended motion or
his supplement thereto entitle him to § 2255 relief. They are all procedurally barred,
without merit, or both. Thus, Defendant’s § 2255 motion should be denied.



         10
           Even at trial, the Government need not prove exactly what the indictment alleges. “It is sufficient for the
government to prove a subset of the allegations in the indictment, as long as the allegations that are proved support a
conviction for the charged offense.” United States v. Richardson, 532 F.3d 1279, 1288–89 (11th Cir. 2008) (citing
United States v. W ard, 486 F.3d 1212, 1227 (11th Cir.2007); see also United States v. Duff, 76 F.3d 122, 126 (7th
Cir.1996) (citing United States v. Miller, 471 U.S. 130, 105 S.Ct. 1811, 85 L.Ed.2d 99 (1985)) (“A prosecutor may elect
to proceed on a subset of the allegations in the indictment, proving a conspiracy smaller than the one alleged.”)).

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                                      Certificate of Appealability
         Section 2255 Rule 11(a) provides that “[t]he district court must issue or deny
a certificate of appealability when it enters a final order adverse to the applicant,” and
if a certificate is issued, “the court must state the specific issue or issues that satisfy
the showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still
be filed, even if the court issues a certificate of appealability. § 2255 11(b).
         After review of the record, the court finds no substantial showing of the denial
of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84
(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is
also recommended that the court deny a certificate of appealability in its final order.
         The second sentence of Rule 11(a) provides: “Before entering the final order,
the court may direct the parties to submit arguments on whether a certificate should
issue.” If there is an objection to this recommendation by either party, that party may
bring this argument to the attention of the district judge in the objections permitted
to this report and recommendation.
         Accordingly, it is ORDERED:
         The Government’s “Motion to Strike Defendant’s Amended Assertion to his
§ 28 U.S.C. § 2255 Petition” (doc. 474) is DENIED.
         And based on the foregoing, it is respectfully RECOMMENDED:
         1. Defendant’s amended motion to vacate, set aside, or correct sentence (doc.
435) be DENIED.
         2. A certificate of appealability be DENIED.




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         At Pensacola, Florida, this 10th day of September, 2013.




                                                     /s/   Charles J. Kahn, Jr.
                                                     CHARLES J. KAHN, JR.
                                                     UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO THE PARTIES

      Any objections to these proposed findings and recommendations must be
filed within fourteen days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual
findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th
Cir. 1988).




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